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                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA


Christine Whalen, et al.,                             Case No.: 23-cv-00459-VC


               Plaintiffs,                            STIPULATED REQUEST FOR AN ORDER
                                                      MODIFYING BRIEFING SCHEDULE
       v.                                             AND HEARING DATE FOR PLAINTIFFS’
                                                      MOTION FOR PRELIMINARY
Kroger Co., Albertsons Companies, Inc.,               INJUNCTION AND DEFENDANTS’
and Cerberus Capital Management, L.P.,                MOTIONS TO DISMISS; [PROPOSED
                                                      ORDER]
               Defendants.




                                       STIPULATION
       Pursuant to Local Rule 6-2, IT IS HEREBY STIPULATED by and between Plaintiffs

and Defendants The Kroger Co. (“Kroger”), Albertsons Companies, Inc. (“Albertsons”) and

Cerberus Capital Management, L.P. (collectively, the “Parties”), by and through their respective

attorneys of record that, if the Court approves, the hearing date for Plaintiffs’ Motion for a

Preliminary Injunction (ECF No. 28), filed March 23, 2023 (“PI Motion”) shall be modified as



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follows: the PI Motion shall be heard on June 22, 2023, or as soon thereafter as the Court may

deem appropriate.

       In addition, IT IS HEREBY STIPULATED by and between the Parties, by and through

their respective attorneys of record that, if the Court approves, the briefing schedule and hearing

date for Defendants’ Motions to Dismiss (ECF Nos. 40, 42 and 48), filed April 12 and 13, 2023

(“Motions to Dismiss”) shall be modified as follows: (1) Plaintiffs’ Opposition to Defendants

Motions to Dismiss shall be due May 11, 2023; (2) Defendants’ Replies in Support of the Motions

to Dismiss shall be due May 25, 2023; and (3) the Motions to Dismiss shall be heard on June 22,

2023, or as soon thereafter as the Court may deem appropriate.

       In support of the stipulation, the Parties state as follows:

       1.      On February 2, 2023, Plaintiffs Christine Whalen, Gabriel Garavanian, Sondra K.

Russell, Pamela Faust, Lisa McCarthy, Katherine R. Arcell, June Stansbury, Timothy Niebor,

Clyde D. Stensrud, Len Marazzo, Yvonne Jocelyn Gardner, Pamela S. Ward, Brenda K. Davis,

Jose M. Brito, Don Freeland, Harry Garavanian, Bill Rubinsohn, Valarie Ann Jolly, Michael C.

Malaney, Carolyn Fjord, Jan-Marie Brown, Gary Talewsky, Deborah M. Pulfer, Donna Fry, and

Rosemary D’Augusta (together “Plaintiffs”) filed a complaint (the “Complaint”) against Kroger,

Albertsons, and Cerberus Capital Management, L.P. (“Cerberus”) in Case No. 3:23-cv-459.

       2.      On February 23, 2023, the Defendants Kroger and Albertsons entered into a

stipulation with Plaintiffs extending the time for Kroger and Albertsons to answer or otherwise

respond to the Complaint by 45 days, from March 1, 2023, to April 17, 2023.

       3.      Defendant Cerberus, was served on March 27, 2023.

       4.      On March 23, 2023, Plaintiffs filed the PI Motion, which seeks an injunction

prohibiting a proposed merger between Albertsons and Kroger and prohibiting and/or disgorging

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the payment of a dividend that Albertsons paid on January 20, 2023 to its shareholders, including

Cerberus.

       5.      On April 3, 2023, this Court granted the Parties’ stipulated request for an order

modifying the briefing schedule and hearing date for the PI Motion (ECF No. 30). It ordered that:

(1) Defendants’ Opposition to Plaintiffs’ PI Motion shall be due April 20, 2023; (2) Plaintiffs’

Reply in Support of the PI Motion shall be due May 4, 2023; and (3) the PI Motion shall be heard

on May 18, 2023.

       6.      Accordingly, without the Court’s approval of this stipulation, the hearing on the PI

Motion would be heard on May 18, 2023; Plaintiffs’ Oppositions to the Motions to Dismiss would

be due April 26 and 27, 2023; Defendants’ Replies in Support of the Motions to Dismiss would be

due May 4, 2023; and the hearing date on the Motions to Dismiss would be held on May 18, 2023.

       7.      Kroger and Albertsons stated in an October 14, 2022, press release announcing that

they had entered into an Agreement and Plan of Merger that the transaction is not expected to close

until 2024. Kroger reiterated this representation on its fourth quarter and full year 2022 earnings

call on March 2, 2023. Plaintiffs have requested that Kroger and Albertsons stipulate that the

transaction will not close prior to July 1, 2023, to allow time for the Court to rule on Plaintiffs’

Motion for Preliminary Injunction. Consistent with the parties’ previous statements that the

transaction is not anticipated to close until 2024, Kroger and Albertsons hereby stipulate that the

transaction will not close prior to July 1, 2023.

       8.      The Parties stipulate to the modified briefing schedule and hearing date set out

below to allow adequate time to brief and prepare for the PI Motion and the Motions to Dismiss.

In addition, Plaintiffs’ counsel have developed a conflict with the currently scheduled hearing date

of May 18, 2023. Although there has been one prior stipulation modifying the hearing date and

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briefing schedule on the PI Motion and one prior stipulation modifying the briefing schedule for

the motion to dismiss, because this case is still in its early stages, because the merger transaction

will not close prior to July 1, 2023, because the Defendants contend the dividend has already been

paid, and because the PI Motion and Motions to Dismiss are the only substantive filings in this

court, granting this stipulation, subject to the convenience of the court, will not prejudice any party.

        Accordingly, IT IS HEREBY STIPULATED AND AGREED, by and between

undersigned counsel and subject to Court approval, as follows:

        1.      The proposed merger between Albertsons and Kroger will close no earlier than July

1, 2023;

        2.      Plaintiffs’ Oppositions to Defendants’ Motions to Dismiss shall be due no later than

May 11, 2023;

        3.      Defendants’ Replies in Support of Defendants’ Motions to Dismiss shall be due no

later than May 25, 2023; and

        4.      The Motion for Preliminary Injunction and Motions to Dismiss shall be heard on

June 22, 2023, or as soon thereafter as the Court may deem appropriate.




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                                  L.P.




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                            SIGNATURE ATTESTATION

       I, Lawrence Papale, am the ECF user whose ID and password are being utilized to

electronically file this STIPULATED REQUEST FOR AN ORDER MODIFYING
BRIEFING SCHEDULE AND HEARING DATE FOR PLAINTIFFS’ MOTION FOR
PRELIMINARY INJUNCTION AND MOTIONS TO DISMISS; [PROPOSED
ORDER]. Pursuant to Local Rule 5-1(i)(3), I hereby attest that the other signatories have
concurred in this filing.

DATED: April 25, 2023

                                               /s/ Lawrence Papale
                                               LAWRENCE G. PAPALE




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                                   [PROPOSED] ORDER

       Having considered the parties’ stipulation, the court hereby ORDERS that the proposed
merger between Kroger and Albertsons will not close prior to July 1, 2023; Plaintiffs’ Oppositions
to the Defendants’ Motions to Dismiss shall be due May 11, 2023; Defendants’ Replies in Support
of Defendants’ Motions to Dismiss shall be due May 25, 2023; and Plaintiffs’ Motion for
Preliminary Injunction and Defendants’ Motions to Dismiss shall be heard on June 22, 2023.



       IT IS SO ORDERED.




DATED: April ___ , 2023



                                                    HONORABLE VINCE CHHABRIA
                                                    United States District Judge




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